Case 1:24-cv-11933-DJC Document1-1 Filed 07/25/24 Page 1 of9

~ Commonwealth of Massachusetts
BRISTOL, ss. TRIAL COURT OF THE COMMONWEALTH
SUPERIOR COURT DEPARTMENT

CIVIL DOCKET NO, _24/73¢ LY 2 &

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Leal’ bdr Lee. _ , PLAINTIFF(S) . oa
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Lhe Indt.th Larvgr,, _. . _, DEFENDANT(S) UD <5

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SUMMONS a

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THIS SUMMONS IS DIRECTED T0_ 4s “aos . (Defendant’s name)

You are being sued, The Plaintiff(s) named above has started 'a lawsuit against you. A copy of the Plaintiff's
Complaint filed against youis attached to this summons.and the original complaint has been filed in the Bristol
Superior Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

1. You.must respond to this lawsuit in writing within 20 days. If you do not respond, the court may
decide the case against you. and award the Plaintiffeverything asked for i in the complaint. You will also
lose the opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you
expect to resolve this matter with the Plaintiff. If you need more time to respond, you may request an

extension of time in writing from-the Court.

2. How to respond. To respond to this lawsuit, you must file a written response with the court and mail a
copy to the Plaintiff’s Attorney (or Plaintiff, if unrepresented). You can do this by:

as Piling or mailing your signed original Answer to the Clerk’s Office for Civil Business,
ebb Court, 7 Coarb4t, There, ME OLTIO. ‘adres,
by eral orin person, AND
b. Delivering of or mailing a copy of; four response to fre Plainttit’s Afomey/Plaintitt at the following
address: “hin 4A. cic, CI, Ce liutors g fz we atest Ate BAT IE

3. What to include in your. response. An “Answer” i isone type of response 10 a Complaint. Your Answer
must state whether you agree or disagrée with the fact(s). alleged in each paragraph of the Complaint.
Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
use them.in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
based on the same facts or transaction described in the Complaint, then you must include those claims in
your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this

lawsuit. If youwant to have your case heard bya jury, you must specifically request a jury trial in your
Answer or ina written demand for a jury trial that you must sent to the other side and file with the court
no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
“Motion to Dismiss,” if you believe that the complaint is legally invalid or legally insufficient. A
Motion to Dismiss must be based on one of the legal deficiencies or reasons list under Mass.R.Civ.P. 12.
If you-are filing the Motion to Dismiss, you must also comply with the: filing procedures for “Civil
Motions” described in the rules of the Court in which the complaint was filed, available: at

WWW.mMass.gov. courts/case-le al-res/rulesofcourt. D

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Matthew Paulih
DATE OF SERVICE

Case 1:24-cv-11933-DJC Document1-1 Filed 07/25/24 Page 2 of 9

Legal Assistance. You may wish to get legal help froma lawyer. If you cannot get legal. help, some basic
information for people who represent themselves is available.at www.mass.gov/courts/selfhelp.
Required information on all filinigs: The “civil docket numiber” appearing at the top.of this notice is the

case number assigned to this case and must appear:on the front of your Answer or Motion to Dismiss.

Witness, Hon. Michael D. Ricciuti, Chief Justice on , 20.

4,

CF Aifer Aw Sullivan, Esquire ~
Clerk of Courts

NOTE: The-number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lawsuit should be
indicated‘on the summons before it is served on the Defendant,

PROOF OF SERVICE OF PROCESS

Thereby certify thaton. , 20 , L served a copy of this
summons, together with a copy: of the complaint i in this action, on the: defendant named in this
summons, in the following manner (See Mass:R,Civ.P. 4(d)(1-5)):

Dated: 20S s‘Signature:

N.B. TO PROCESS SERVER:

PLEASE ENTER. THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX —
BOTH ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE
DEFENDANT.

Case 1:24-cv-11933-DJC Document1-1 Filed 07/25/24 Page 3 of 9

Date Filed 3/28/2024 6:01 PM

Superior Court - Bristol

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Docket Number DOCKET NUMBER: Massachusetts Trial Court
GIVIL ACTION COVER SHEET Superior Court
ANTAVODAloO) _|CouNTy|Bristol Superior Court (New Bedford)
Plaintiff Scott White Defendant: Easton Middle School / Town of Easton
ADDRESS: 222 Turnpike Street ADDRESS: 98 Columbus Ave
South Easton, MA NorBRESSOMSS SUPERIOR COURT
FILED
Plaintiff Attorney: = John &. Zajac, Esquire Defendant Attorney: >
ADDRESS: Comerstone Law Group, LLC ADDRESS: MAR Y 82024
One Taunton Green, Suite 2
Taunton, MA 02780 JENNIFER A. SULLIVAN, ESQ
BBO: 560195 BBO: CLERK / MAGISTRATE
TYPE OF ACTION AND TRACK DESIGNATION (see instructions section on next page)
CODE NO. TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
B22 Employment Discrimination F IX] Yes [] No
*If "Other" please describe:
Is there a clalm under G.L. c. 93A? Is there a class action under Mass. R. Civ. P. 23?

' []yes [XJ No []yes [X}No
STATEMENT OF DAMAGES REQUIRED BY GL. ¢. 212, § 3A

The following Is a full, itemized and detalled statement of the facts on which the undersigned plaintiff or plaintif?s counsel relies to determine money damages.

(Note to plaintiff: for this form, do not state double or treble damages; indicate single damages only.)

TORT CLAIMS

A. Documented medica! expenses to date
1. Total hospital expenses

2. Total doctor expenses

3. Total chiropractic expenses

4. Total physical therapy expenses

5. Total other expenses (describe below)

Subtotal (1-5): $0.00

B. Documented lost wages and compensation to date $160,000.00
C. Documented property damages to date

D. Reasonably anticipated future medical and hospital expenses
E. Reasonably anticipated lost wages

F, Other documented items of damages (describe below) $100,000.00

Emotional Distress (estimated) |
TOTAL (A-F): $260,000.00

G. Briefly describe plaintiffs injury, including the nature and extent of the injury:
Plaintiff was discriminated against and wrongfully terminated due to disability and/or age discrimination and retaliated against for seeking to exercise
FMLA rights.

CONTRACT CLAIMS
CL] This action includes a claim involving collection of a debt incurred pursuant to a revolving credit agreement. Mass. R. Civ. P. 8.1(a).

Item # Detailed Description of Each Claim Amount
1.

Total

Signature of Attorney/Self-Represented Plaintiff: X_/s/John E. Zajac _| | Date: March 28, 2024

RELATED ACTIONS: Please provide the case number, case name, and county of any related actions pending in the Superior Court.

CERTIFICATION UNDER S.J.C, RULE 1:18(5)
| hereby certify that | have comnlied with reauiremants of Rule 6 of Supreme Judicial Court Rule 1:18: Uniform Rules on Disoute Resolution, requiri
court-connected dispute resolution services and discuss with them the advantages and disadvantages of the various methods of dispute resolution.

ina that | inform mv clients about

| Date: March 28, 2024

Signature of Attorney: X _/s/ John E. Zajac

$C0001: 02/24 www.mass.gov/courts Date/Time Printed:03-28-2024 17:47:56
Case 1:24-cv-11933-DJC Document1-1 Filed 07/25/24 Page 4 of 9

Date Filed 3/28/2024 6:01 PM
Superior Court - Bristol
Docket Number

CIVIL ACTION COVER SHEET INSTRUCTIONS —

SELECT A CATEGORY THAT BEST DESCRIBES YOUR CASE*

type listed under Administrative Civil Actions (AA)

AC Actions involving the State/Municipalityt* ER Equitable Remedies RP Real Property
AA1 Contract Action involving Commonwealth, 001 Specific Performance of a Contract (A) C01 Land Taking (F)
Municipality, MBTA, etc. (A) D02 Reach and Apply (F) C02 Zoning Appeal, G.L. c. 40A (F)
AB1 Tortlous Action Involving Commonwealth, DO03 Injunction (F) C03 Dispute Conceming Title (F)}
Municipality, MBTA, etc. D04 Reform/ Cancel Instrument (F) C04 Foreclosure of a Mortgage (X)
AC1 Real Property Action involving 005 Equitable Repievin (F) C05 Condominium Lien & Charges )
Commonwealth, Municipality, MBTA etc. (A) B06 Contribution or Indemnification (F) C99 Other Rea! Property Action (F)
- AD1 Equity Action involving Commonwealth, DO07 Imposition of a Trust (A)
Municipality, MBTA, etc. (A) DO8 Minority Shareholder's Suit (A) MS Miscellaneous Civil Actions
AE1 Administrative Action involving 609 Interference in Contractual Relationship’ (F)
Commonwealth, Municipality, MBTA,etc. (A) B10 Accounting (A) E18 Foreign Discovery Proceeding oO
D11 Enforcement of Restrictive Covenant (F) E97 Prisoner Habeas Corpus ()
CN Contract/Business Cases D412 Dissolution of a Partnership 6 (F) E22 Lottery Assignment, G.L. c. 10, § 28 &)
D13 Declaratory Judgment, G.L. c. 231A (A)
A01 Services, Labor, and Materials (F) D14 Dissolution of a Corporation (F) BAI ment Prev
A02 Goods Sold and Delivered (F) D99 Other Equity Action (F)
A403 Commercial Paper (F) E15 Abuse Prevention Petition, G.L.c. 209A (X)
A04 Employment Contract ‘ (F) PA Givil Actions Involving Incarcerated Party + E21 Protection from Harassment, G.L. c, 258E(X)
A05 Consumer Revolving Credit-mrcr.ai1  (F)
AO6 insurance Contract (F) PA1 Contract Action involving an AA Administrative Civil Actions
A08& Sale or Lease of Real Estate (F) Incarcerated Party (A) ,
A12 Construction Dispute (A) PB1 Tortious Action involving an E02 Appeal from Administrative Agency,
A14 Interpleader -  (F) incarcerated Party (A) G.L. c, 30A (X)
BA1 Governance, Conduct, Internal PC1 Real Property Action involving an E03 Certiorari Action, G.L. c. 249, § 4 (X)
Affairs of. Entities (A) Incarcerated Party (F) E05 Confirmation of Arbitration Awards (X)
BAS Liability of Shareholders, Directors, PD1 Equity Action involving an £06 Mass Antitrust Act, G.L. c, 93, § 9 (A)
Officers, Partners, etc, (A) Incarcerated Party (F) E07 Mass Antitrust Act, G.L. c. 93, § B ®)
BB1 Shareholder Derivative (A) PE1 Administrative Action invelving an E08 Appointment of a Receiver ®
BB2 Securities Transactions (A) Incarcerated Party (F) E09 Construction Surety Bond, G.L. c. 149,
BC1 Mergers, Consolidations, Sales of §§ 29, 29A (A)
Assets, Issuance of Debt, Equity, etc. (A) TR Torts, E10 Summary Process Appeal (X)
BD1 Intellectual Property (A) E11 Worker's Compensation (X)
BD2 Proprietary Information or Trade B03 Motor Vehicle Negligence - Personal E16 Auto Surcharge Appeal (X)
Secrets (A) Injury/Property Damage (F) E17 Civil Rights Act, G.L. ¢.12, § 11H (A)
BG1 Financial Institutions/Funds (A) B04 Other Negligence - Personal E24 Appeal from District Court
BH1 Violation of Antitrust or Trade Injury/Property Damage (F) Commitment, G.L. ¢.123, § 9(b) (X)
Regulation Laws (A) B05 Products Liability {A) E94 Forfelture, G.L. ¢. 265, § 56 ®
A989 Other Contract/Business Action - Specify (F) B06 Malpractice - Medical (A) E95 Forfeiture, G.L. c. 94C, § 47 (F)
807 Malpractice - Other {A} E99 Other Administrative Action (X)
* See Superior Court Standing Order 1-88 for an B08 Wrongful Death - Non-medical (A) Z01 Medical Malpractice - Tribunal only,
explanation of the tracking deadlines for each track B15 Defamation (A) G.L. c. 231, § 60B (F)
designation: F, A, and X. On this page, the track B19 Asbestos (A) 202 Appeal Bond Denia! (x)
designation for each case type is noted in 820 Personal injury - Slip & Fall (F)
parentheses. B21 Environmental (F) SO Sex Offender Review
B22 Employment Discrimination (F)
+" Choose this case type if ANY party is the BE1 Fraud, Business Torts, etc. (A) E12 SDP Commitment, G.L.c.123A,§12  (X)
Commonwealth, a municipality, the MBTA, or any Bag Other Tortious Action (F) E14 SDP Petition, G.L. c. 123A, § 9(b) (X)
other governmental entity UNLESS your case is a
case type listed under Administrative Civil Actions RP Summary Process (Real Property) R ris iv o'
(AA).
“ $01 Summary Process - Residential (X) E19 Sex Offender Registry, G.L. c. 6, § 178M (X)
+ Choose this case type if ANY party is an $02 Summary Process - Commercial/ E27 Minor Seeking Consent, G.L. ¢.112, § 12S(X)
incarcerated party, UNLESS your case Is a case Non-residential (F)

-or is a Prisoner Habeas Corpus case (E97), TRANSFER YOUR SELECTION TO THE FACE SHEET

EXAMPLE:
CODE NO. TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
BOS Motor Vehicle Negligence-Personal Injury F X YES O NO

STATEMENT OF DAMAGES REQUIRED BY G.L. c. 212, § 3A

‘DUTY OF THE PLAINTIFF — On the face of the Civil Action Cover Sheet (or on attached additional sheets, if necessary), the plaintiff shall
state the facts on which the plaintiff relies to determine money damages. A copy of the completed Civil Action Cover Sheet, including the
statement concerning damages, shall be served with the complaint. A clerk-magistrate shall not accept for filing a complaint, except as
otherwise provided by law, unless it is accompanied by such a statement signed by the attorney or self-represented litigant.

DUTY OF THE DEFENDANT — If the defendant belleves that the statement of damages filed by the plaintiff is inadequate, the defendant may
file with the defendant's answer a statement specifying the potential damages which may result if the plaintiff prevails.

A CIVIL ACTION COVER SHEET MUST BE FILED WITH EACH COMPLAINT.
iF THIS COVER SHEET IS NOT FILLED OUT THOROUGHLY AND
ACCURATELY, THE CASE MAY BE DISMISSED.
SC0001: 02/24

www.mass.gov/courts Date/Time Printed:03-28-2024 17:47:56
Case 1:24-cv-11933-DJC Document1-1 Filed 07/25/24 Page 5of9

Date Filed 3/28/2024 6:01 PM

Superior Court - Bristol

Dacket Number | i
BRISTOL,SS SUPERIOR COURT
FILED
8 OE eer ort OF MASSACHUSETTS
MAR 2 RIAL COURT OF THE COMMONWEALTH
BRI S8- a. SULLIVAN, ESQ. SUPERIOR COURT
CLERK / MAGISTRATE DOCKET NO.:473CVO00Me O

SCOTT WHITE, )

Plaintiff, )
)

VS. )
)

EASTON MIDDLE SCHOOL and )

the TOWN of EASTON, )

Defendants. )

COMPLAINT FOR DAMAGES AND DISABILITY DISCRIMINATION, |
RETALIATION AND VIOLATIONS OF G.L.c. 151B, the ADEA and the ADA
AND DEMAND FOR A JURY TRIAL
PARTIES

l. The Plaintiff, Scott White, has, at all relevant times, resided at 222 Turnpike Street, South
Easton, Massachusetts.

2. The Defendants, Easton Middle School and the Town of Easton. Massachusetts are
municipal entities with a place of business at 98 Columbus Avenue, North Easton,
Massachusetts.

THE FACTS

3. Plaintiff was employed by the Defendants from about October 2011 until he was
terminated by the Defendants on or about March 29, 2021.

4. Plaintiff was sixty-one (61) years old at the time of his termination.

5. Initially hired by the Defendants as a Bus Operator, in or about July of 2018, the Plaintiff

was reassigned to the position of custodian.

6. Plaintiff worked as a custodian for the Defendants for almost three (3) years and
satisfactorily performed all job duties.

7. While employed by the Defendants, the Plaintiff suffered disabilities of Rheumatoid
Arthritis with hip pain and loss of mobility. He also suffered from periods of arthritis
flare-ups which caused his difficulty in using his hands

8. As custodian, Plaintiff generally worked the "night shift" and was supervised by

Defendants' employee, James Hamilton.
Case 1:24-cv-11933-DJC Document1-1 Filed 07/25/24 Page 6 of 9

Date Filed 3/28/2024 6:01 PM

Superior Court - Bristol
Docket Number

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At the time of his termination, the Plaintiff was sixty-one (61) years old. He had been
working alongside two (2) other custodians who were aged fifty-four (54) years old and

thirty-five (35) years old. Neither suffered from any disability at the time.

During his employment with the Defendants, the Plaintiff was provided with a floor
washing machine which he used. This machine helped to accommodate Plaintiffs
disabilities.

In about early January 2021, Plaintiffs supervisor, James Hamilton, informed the Plaintiff
that he would no longer be allowed to use the floor washing machine.

Plaintiff objected to the loss of the machine. He informed Mr. Hamilton that, by using the
machine, which allowed him to sit as the floors were washed, relieved symptoms of his
disability and alleviated pain which, otherwise, kept him from sleeping as usual.

Plaintiff's concerns and request for the continuing accommodation were summarily
dismissed by the Defendants.

The Defendant did not offer or agree to any other accommodations for the Plaintiffs
disabilities.

Defendants’ failure to accommodate the Plaintiff negatively impacted his abilities to
perform his job functions and the Defendants reprimanded the Plaintiff for this.

On March 17, 2021, the Plaintiff submitted an application to the Defendants for FMIA
benefits due to his disabilities.

As part of his MLA request, the Plaintiff set forth recent medical records to the
Defendants which indicated his disabilities.

Without acting on the FMIA request, on March 29, 2021, the Defendants terminated the
Plaintiffs employment. The Defendants reasoning was that the Plaintiff took longer work
breaks than permitted by his contract.

By the time of his termination, the Plaintiff had always satisfactorily completed all of his
assigned tasks.

At the time of his termination, the Plaintiff was owed forty (40) hours of accrued vacation
time but the Defendants failed and refused to properly compensate the Plaintiff for this
benefit.

After terminating the Plaintiff, the Defendants replaced him with someone who was fifty-
seven (57) years old at the time who, to the best of Plaintiff’s knowledge, did not suffer
from any disabilities.
Case 1:24-cv-11933-DJC Document 1-1 Filed 07/25/24 Page 7 of 9

Date Filed 3/28/2024 6:01 PM

Superior Court - Bristol

Docket Number

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COUNTI
Plaintiff incorporates all previous averments.

At all times, the Plaintiff operated under a Collective Bargaining Agreement
("Agreement") with the Defendants.

The Plaintiff fully performed under the Agreement.

The Defendants breached their Agreement with the Plaintiff by terminating him improperly
and not providing proper payment of compensation.

Said breach caused damage to the Plaintiff.

WHEREFORE, Plaintiff demands judgment from the Defendants in an appropriate sum with
interest, costs, attorney's fees and such other relief as is just.

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COUNT II
ADA and G.L. c. 151B Violation

Plaintiff incorporates all previous averments.

Defendants are employers subject to the Americans with Disabilities Act (“ADA”) and
G.L. c. 15113.

Plaintiff was disabled as the term is defined in the ADA and G.1.4 1516.
Plaintiff made reasonable requests for accommodation for his disabilities.

Despite requests, the Defendants failed to provide the Plaintiff with reasonable
accommodations and, in fact, removed an accommodation previously provided.

The Defendants failed to provide protections to the Plaintiff required by the ADA.
Additionally, the Defendants violated G.L. c. 1516.

Said failures caused damage to the Plaintiff.

COUNT I
FMLA

Plaintiff incorporates all previous averments.
The Defendants terminated the Plaintiff after his request for FMLA benefits.

The Defendants failed to properly provided actions for the Plaintiff's FMLA benefits.
Case 1:24-cv-11933-DJC Document1-1 Filed 07/25/24 Page 8 of 9

Date Filed 3/28/2024 6:01 PM
Superior Court - Bristol

Docket Number

37. Defendants! failure to properly proceed with Plaintiffs request for FMLA benefits caused
harm to the Plaintiff.

WHEREFORE, Plaintiff demands judgment from the Defendants in an appropriate sum with
interest, costs, attorney's fees and such other relief as is just.

COUNT IV
Retaliation

38. Plaintiff incorporates all previous averments.

39. After removing an accommodation for the Plaintiff's disability, the Plaintiff pressed the
Defendants for accommodations.

40. The Plaintiff began the process for FMLA benefits.

4l. As a result of the above, the Defendants terminated the Plaintiff. Said termination was.
done in retaliation for Plaintiff seeking benefits he was entitled to under law.

42, Said termination caused damage to the Plaintiff.

WHEREFORE, Plaintiff demands judgment from the Defendants in an appropriate sum with
interest, costs, attorney’s fees, and other such relief as is just.

COUNT V
Age Discrimination Claim (ADEA)

43, Plaintiff incorporates all previous averments.

44. ‘By terminating the Plaintiff at age sixty-one (61), replacing him with a younger
employee, and other facts set forth herein, Defendants violated the ADCA.

45. Said violation caused damage to the Plaintiff.

WHEREFORE, Plaintiff demands judgment from the Defendants in an appropriate sum with
interest, costs, attorney’s fees, and other such relief as is just.

PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL COUNTS
SO TRIABLE IN THE SUPERIOR COURT
Case 1:24-cv-11933-DJC Document1-1 Filed 07/25/24 Page 9of9

Date Filed 3/28/2024 6:01 PM
Superior Court - Bristol
Docket Number

Respectfully Submitted,
The Plaintiff, Scott White,
By his attorney,

le] You E. Gagae

John E. Zajac, Esquire
CORNERSTONE LAW GROUP, LLC
One Taunton Green, Suite 2

Taunton, Ma 02780

Phone: (508) 821-2552

BBO #560195

Dated: March 28, 2024
